Case 4:13-cr-10029-JEM Document 436 Entered on FLSD Docket 09/10/2014 Page 1 of 5




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 13-10029-CR-Martinez/Garber


  UNITED STATES OF AMERICA,

  v.

  ORESTE CHAVEZ TORRES,

        Defendant.
  ____________________________/

                              REPORT AND RECOMMENDATION

         THIS CAUSE is before the Court by Order of Reference from United States District Judge

  Jose M. Martinez for a Report and Recommendation “as to the appropriateness of Defense

  Counsel’s CJA Voucher.”

                        FACTUAL BACKGROUND AND DISCUSSION

         The defendant Torres was indicted on September 24, 2013, and was charged in Counts 1,

  and 62 through 103 of the Indictment, charging him with conspiring to encourage and induce aliens

  to enter the United States, encouraging and inducing aliens to enter the United States, and alien

  smuggling for financial gain. Attorney Faith Mesnekoff, Esquire was appointed on October 21, 2013

  to represent the defendant Torres, such appointment made pursuant to the Criminal Justice Act, and

  she participated in the case from the date of her appointment until May 13, 2014. Ms. Mesnekoff

  now seeks an award of attorneys fees, costs, and expenses, to which she is entitled. The award being

  sought is in excess of the cap of $9,800.00. The Criminal Justice Act supports the concept that

  counsel should be compensated reasonably and, if necessary, in excess of the cap, where counsel’s

  work involved complex issues and the representation was lengthy. This cause was indeed both
Case 4:13-cr-10029-JEM Document 436 Entered on FLSD Docket 09/10/2014 Page 2 of 5




  complex and extended. United States v. Bailey, 581 F.2d 984 (D.C. Cir. 1978); United States v.

  Johnson, 549 F. Supp. 78 (D.D.C. 1982).

         The Court has carefully reviewed and considered Ms. Mesnekoff’s submissions. It is clear

  that this cause is “extended” because of the amount of discovery, time required in its examination,

  time for trial preparation, consultations with the defendant, family members, experts, and witnesses,

  as compared to the average case. 18 U.S.C. §3006A(d)(3). Ms. Mesnekoff had to locate prospective

  defense witnesses in Cuba. This was a Key West case and thus required counsel to travel from

  Miami to Key West on two occasions.

         The Court also finds that the case is “complex” because of the numerous defendants, and the

  substantial number of counts and issues, especially those charging the defendant Torres. Torres had

  numerous personal issues such as mental and behavioral problems that required Ms. Mesnekoff to

  spend substantial time addressing such problems with psychologists and psychiatrists. As a result,

  Ms. Mesnekoff was required to become familiar with numerous medical and behavioral records of

  the defendant and with the effects of various medications taken by the defendant. Because of the

  defendant’s mental problems, resulting in hospitalization, catheterization, and being subjected to

  being tasered because of his bizarre behavior, Ms. Mesnekoff was faced with such problems in her

  representation of the defendant. The defendant was non-communicative in court sessions and Ms.

  Mesnekoff was compelled to spend an inordinate amount of time with the defendant in explaining

  all aspects of the case and the discovery so that he could understand the legal and factual issues.

         Although the case was resolved by a plea of guilty, Ms. Mesnekoff had to fully prepare for

  a trial. She is an excellent attorney with years of experience as an Assistant Federal Public Defender

  and did an outstanding job in such preparation. However, the Court finds that numerous entries in


                                                    2
Case 4:13-cr-10029-JEM Document 436 Entered on FLSD Docket 09/10/2014 Page 3 of 5




  her application for fees were for tasks that were not necessary. Examples of such tasks are set forth

  as follows:

                 10-29-13 – Preparation of medical release form: .7 hrs., should be .3 hrs.

                 10-29-13 – Eliminate 1.4 hrs. re: co-defendants matters

                 10-31-13 – Motion for psychological evaluation, etc. should require .5 hours

                 11- 06-13 – Review 1st discovery response, should only require 1 hour

                 11-14-13 – Motion and Order re: Dr. Quiroga’s entry to FDIC should be .5 hours

                 11-20-13 – Only 1 hour required for conference re: boat inspection

                 11-21-13 – Only .5 hours required to prepare Motion to Continue and Adopt

                 12-01-13 – Only 5 hours, not 9 hours, for CD in discovery

                 12-03-13 – Only 2 hours necessary for research re: financial gain

                 Various review of co-defendants motions, orders, pleadings from 12-23-13 to 3-21-

                 13.

                 The Court also finds that an excessive amount of time was spent in conferences with

                 members of the defendant’s family.

         The above sets out examples of what the Court deems to be excessive expenditures of time

  and inclusion of unnecessary tasks.

         In considering the application now before the Court, the documentation supporting the

  application is voluminous and the Court shall rely upon the ruling in Loranger v. Stierheim, 10 F.3d

  776 (11th Cir. 1994), which states inter alia that “[w]here fee documentation is voluminous, such as

  in the instant case, an hour-by-hour review is simply impractical and a waste of judicial resources.”

   Other circuits have almost uniformly held that where a fee application is voluminous, an hour-by-


                                                   3
Case 4:13-cr-10029-JEM Document 436 Entered on FLSD Docket 09/10/2014 Page 4 of 5




  hour analysis of a fee request is not required. Jacobs v. Mancuso, 825 F.2d. 559 (1st Cir.1987);

  Mares v. Credit Bureau of Raton, 801 F.2d. 1197, 1202-03 (10th Cir. 1986); Copeland v. Marshall,

  641 F.2d 880, 903 (D.C.Cir. 1980).

         “In fact, given a voluminous application, most circuits recognize the utility of across-the-

  board percentage cuts either in the number of hours claimed or in the final lodestar figure.”

  Loranger, 10 F.3d at 783. The Eleventh Circuit, in Bivins v. Wrap It Up, Inc., 380 Fed.Appx. 888

  (2010), holds that “if the district court finds that the number of hours claimed is unreasonably high,

  the court may either conduct an hour-by-hour analysis or it may reduce the hours using an across the

  board cut.” The Court finds that the number of hours claimed is excessive and finds an across the

  board percentage cut to be appropriate here and shall recommend a percentage cut.

                           CONCLUSION AND RECOMMENDATION

         The Application for Fees and Costs must be modified to reflect an accurate portrayal of the

  reasonable and necessary time expended on tasks referenced therein. The Court, based upon its

  expertise in assessing fees and costs based upon 37 years of practice and 23 years as a United States

  Magistrate Judge, finds that the statutory cap of $9,800.00 should be exceeded and makes the

  following recommendations:

         Counsel’s claim for legal fees in the amount of $22,641.40 should be reduced by ten percent

  (10%) to $20,377.26 for legal tasks that were reasonable and necessary. In addition thereto, she

  should receive an additional amount of $1,722.46 for travel expenses and $425.78 for other

  expenses. The Court finds that such travel expenses and other expenses were also reasonable and

  necessary. Thus, Ms. Mesnekoff should receive a total award of $22,525.50.




                                                    4
Case 4:13-cr-10029-JEM Document 436 Entered on FLSD Docket 09/10/2014 Page 5 of 5




         The parties have fourteen (14) days from the date of this Report and Recommendation within

  which to file written objections, if any, with United States District Judge Jose M. Martinez. See 28

  U.S.C. §636 (1991). Failure to file timely objections may bar the parties from attacking on appeal

  the factual findings contained herein. LoConte v. Dugger, 847 F.2d 745, 750 (11th Cir.1988), cert.

  denied, 488 U.S. 958 (1988).

         RESPECTFULLY SUBMITTED at the United States Courthouse, Miami, Florida this 10th

  day of September 2014.



                                                       _________________________________
                                                       BARRY L. GARBER
                                                       UNITED STATES MAGISTRATE JUDGE




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